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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:08CR479
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
CAROLYN RUSSELL,                                 )
                                                 )
                     Defendant.                  )


       This matter is before the court on the motion of Cathy R. Saathoff to withdraw as
counsel for the defendant, Carolyn Russell (Russell) (Filing No. 86).         Ms. Saathoff
represents she has obtained new employment and will not be practicing in federal court.
The motion is granted and substitute counsel will be appointed.
       Michael D. Nelson, 503 South 36th Street, #1004, Omaha, NE 68105, (402) 344-
8044, is appointed to represent Russell for the balance of these proceedings pursuant to
the Criminal Justice Act. Mr. Nelson shall file his appearance in this matter forthwith. The
clerk shall provide a copy of this order to Mr. Nelson and to the Federal Public Defender.
       IT IS SO ORDERED.
       DATED this 25th day of June, 2009.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
